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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                        :      Honorable Douglas

                       v.                       :      Mag. No. 12-2547 (DA)

MINDY RUBLOWITZ

                                                       ORDER FOR CON TIN


        This matter having been opened to the Court by Paul J. Fishman, United States Attorney

for the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing).

and defendant MINDY RUBLOWITZ (Jerome A. Ballarotto, Esq., appearing), for an order

granting a continuance of the proceedings in the above-captioned matter; and five continuances

having previously been granted; and the defendant being aware that she has the right to have the

matter presented to a Grand Jury within thirty’ (30) days of the date of her arrest pursuant to Title

18 U.S.C. § 3161; and the defendant through her attorney having waived such rights and

consented to the continuance; and for good and sufficient cause shown,

       IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

               1.    Plea negotiations currently are in progress. and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2.    Defendant has consented to the aforementioned continuance.

               3.    The grant of a continuance will likely conserve judicial resources.

               4.    Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the

       ends of justice served by granting the continuance outweigh the best interests of the

       public and the defendants in a speedy trial.
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                                           _jf day of                             _,   201 3;
                   ORD]2Rt!l) that the proceeclhig
                                                       in the ab ye-captioned matter are
                                                                                           continued from May
            10.2013 through July 127 2013;
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                                                                             oughJuiy 12,2013 shall
           be ex1udable in computing
                                       time under the Speedy rrial Act of’ 197
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